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                          IN THE UMTED STATES BANKRUPTCY COURT
                         FOR TIIE EASTERN DISTRICT OF PENNSYLVAI{IA


      fn re:                                                     Chapter 11

      Stream TY Networks rlnc., et al.                           Bankruptry No. 23-10763 (AMC)

                                 Debtors.                        (Jointly Administered)I


      DECLARATION OF WILLIAM A. HOMOI{Y IN HIS CAPACITY AS CHAPTER 11
         TRUSTEE, IN SUPPORT OF Tr{E MOTTON FOR ENTRY Or AN ORDER (A)
     APPROYING THE SALE OT THE DEBTORS'ASSETS I.REE AND CLEAR OF ALL
      LIENS, CLAIMS, ENCT}MBRANCES, AND OTITER INTERESTS, (B) APPROVING
     THE ASSUMPTION AND ASSIGNMENT OF CERTAIN EXECUTORY CONTRACTS
                 AI\[D T]NE,XPIRED LEASES RELATED TIIERETO, AI\[D
                           (C) GRANTING RELATED RELIEF

            I, William A. Homony, make this declaration (the "Declaration") under 28 U.S.C. S 1746

  in support ofmy Motion for Entry of an Order (i) authorizing and approving, but not directing, the

 sale of the Assetso in each case with such Sale being free and clear of any and all liens, claims,

 encumbrances, and interests, (ii) and the assumption and assignment ofcertain executory conffacts

 and unexpired leases in connection with the Sale, and (iii) granting related relief,2 and in response

 to the Objections of Visual Semiconductor, Inc. ('YSI") and Rembrandt 3D Holding Ltd.

 (*Rembrandt").

            1.       I am the duly appointed Chapter 11 Trustee in the jointly administered Chapter 1l

 bankruptcy cases of Stream TV Networks, Inc. ('Stream') and Technovative Media lnc.

 ("Technovative," and together with Stream, the "Debtors").




 1
     On April 17,2023,the Court entered an order directing joint administration of the above-captioned cases. (D.I. #81).
 2
     Capitalized terms not otherwise defined herein shall have the meaning ascribed to them in the Motion.
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          2.     I am a Certified Insolvency and Restructuring Advisor with over twenty-three (23)

  years of experience. I also serve as a Subchapter V Trustee in the District of Delaware and have

  been appointed as a Liquidating Trustee and Plan Administrator in numerous bankruptcy cases.

          3.     Except as othenryise indicate4 all facts set forth in this Declaration are based upon

  my personal knowledge, my review of relevant documents, my discussions with my professionals

  and advisors, my communications with the salient parties in these bankruptcy cases as set forth in

  greater detail below, and my opinions based upon my experience and knowledge. If called as a

 witness, I could and would testifr competently to the facts set forth in this Declaration on that

 basis.

  r.      BAqKGBOTJND

          4.     On January 5,2024, the Court entered an order, which, among other things, (i)

 granted Hawk's motion for relief from the automatic stay to proceed in the 225 Action; and (ir)

  insfucted the United States Trustee's Office to immediately begin the process of appointing a

 Chapter l l trustee over these bankruptcy cases (the *Trustee Order'). (D.I. #549).

          5.    In addition to the Trustee Order, the Court also issued a written opinion, which,

 among other things, went to great lengths to explain why a trustee was being appointed over the

 Debtors' bankruptcy estaks (the *Trustee Opinion"). (D.I. #548).

          6.    In the Trustee Opinion, the Court specifically held that a neutral, unconflicted

 trustee was needed in these sases to *... deal with VSI at arms-length, including determining      if
 there are pre- orpost-petition claims that lie against VSf'and to oo...evaluate, resolve, and/or

 litigate the claims ofHawlg SLS, SeeCubic, Rembrandt, and others" and went on to detail the facts

 and reasoning it held supported the appointment of a trustee. Trustee Opinion at p. 73.
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        7.      On January 9, ?024, the Office of the United States Trustee filed a notice of my

 appointment to serve as the Chapter 11 Trustee in this case, as well as an Application for the entry

 ofan Order approving my appointment. (D.I. #554 and#553 respectively).

        8.      On January 12, 2024, the Bankruptcy Court entered an Order approving my

 appointment CI.I. #558).

        9.      As the Chapter 11 Trusteg I am the representative of the Debtors' bankruptcy

 estates and have been vested with the exclusive authority to manage the property of the Debtors'

 bankruptcy estates and have the duties enumerated under the Bankruptcy Code.

         10. Further, as a Chapter 11 trustee, I have a duty "to evaluate the Debtors' operations,
 prospects, and ability to successfully reorganize, and to implement such reorganization if

 possible." Trustee Opinion at p. 74.

         11. Since my appointment, I have done precisely that.
         12. In my early assessment of the Debtors' bankruptcy estates, I was able to determine
 that the Debtors were not operating and had not operated for several years and had no

 manufacturing capabilities or finished goods that could be sold.

        13. As part of my duties as Trustee, I met with and evaluated proposals from VSI,
 Rembrandt, and Hawk with the goal of maximizing recoyeries for creditors. Notwithstanding the

 complaints of Mathu Rajan ("Rajan"), YSI, and Rembrandt, I have fairly evaluated every proposal

 presented to me.

        14. After consideration of all the facts and circumstances surrounding the Debtors'
 status and prospects, I ultimately negotiated a settlement agreement with the Debtors' secured

 creditors (the "Hawk Settlement") that provided for the resolution of signiticant litigation between
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  the parties and provided a mechanism to expose the Debtors' assets to the market for sale in an

  effort to monetize the Debtors' assets and provide a recovery for creditors.

            A. The Hawk Settlemgnt and ths Sale Process
            15. For the reasons set forth in the 9019 Motion and the 9019 Order, both of which are
  incorporated herein at length, the Court approved the Hawk Settlement as a reasonable exercise of

  my business judgment, and I commenced the sale process outlined in the Hawk Settlemenl

  immediately.

            16. I first filed an application to employ Capstone Capital lv{arkets, LLC ("Capstone')
  as my investment banker, but after objections by VSI and Rembrandt (which were overuled) and


  the office of the United States Trustee, which Capstone attempted to resolve without success, on

  or about luly 26,2024, Capstone withdrew from consideration as my investment banker.

            17. In the wake of Capstone's withdrawal, I filed an application to employ SSG Capital
  Advisors, LLC ("SSG") as my investnent banker, and after VSI voluntarily withdrew its objection

  to SSG's retention, the application to employ SSG was approved by this Court on or about

  September 20,2024. Shortly thereafter, on September 30, ?024,I filed the Bidding Procedures

  Motion, but not before a two-week period during which I agreed to postpone filing the Bid

  Procedures Motion in one last effort to provide VSI an opportunity to present a viable proposal

  that would provide for an alternative path forward for the Debtors and a better result for creditors.

  In spite of my ongoing effots to engage with parties in an effo* to maximize creditor recoveries,

  VSI never made a proposal to buy the Assets being sold under the Stalking Horse APA (defined

  below).

            18. The assets of the Debtors I am selling consist of all Stream assets identified in the
  asset purchase agreement filed in connection with the Sale Motion (the "Stalking Horse APA')
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  including the ownership interests of Technovative in its subsidiaries: Technology Holdings

 Delaware LLC; Media Holdings Cq LLC; and Ultra-D Ventures C.V. [D.N. 791-11(the o'Assets").

         19. As part ofthe Court approved Hawk Settlement and the Bidding Procedures Order,
  SSG sent a "Teaser" containing relevant information about the Debtors and the Asssts to over 550

 potential financial and sffategic targets with the intention of creating interest in the Assets and to

 get interested parties to engage in a diligence process upon the execution of a non-disclosure

 agreement which would provide more detailed information from SSG's data room regarding the

 Assets and the ability to ask questions of parties with more familiarity with the Assets, their

 capabilities and prospects.

         20. SSG followed up with potential targets for a period of weeks after the Teaser was
  sent out but received limited responses, and only one NDA was signed by VSI. As a result, only

 VSI viewed the information in the data room, and as of the bid deadline on December 2,2024, at

  12:00 p.m., no bids were submitted.

         21. The Stalking Horse Bid, as the only bid submitted by &e Bid Deadline, constitutes
 the highest and best offer for the Assets, and therefore, I authorized the cancellation ofthe Auction

  in accordance with the Bid Procedures Order.

         22. The bid procedures, sale process, and relief being requested from this Court in
 connection with the sale of the Debtors' Assets are consistent with numerous other cases I have

 been involved with throughout my professional career and are appropriate under the ciroumstances

 of these bankruptcy @ses.

         23. In my business judgment, I believe the Court should authorize the sale of the
 Debtorso Assets free and clear of all liens claims and interests pursuant to 1 1 U.S.C. $363 and enter

 the proposed Sale 0rder.
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        Pursuant to 28 U.S.C. Section l746,ldeclare underpenalty ofperjurythe above to be true

 and coffect.

        Dated:   o/, lr,                   By:
                                                           A.
                                                   Chapter l1 Trustee
